36 F.3d 1091
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jasper BUCHANAN, Plaintiff Appellant,v.Richard S. LINDLER, Warden, McCormick CorrectionalInstitution;  D. Anderson, Mail Employee, McCormickCorrectional Institution;  G. Patterson, Mail Employee,McCormick Correctional Institution;  W. G. McCuen,Physician, McCormick Correctional Institution;  Betty Yokem,Medical Director, McCormick Correctional Institution;Members of the South Carolina Board of Corrections;Correctional Medical Systems, Defendants Appellees.
    No. 94-6394.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 25, 1994.Decided Sept. 27, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenwood.  Solomon Blatt, Jr., Senior District Judge.  (CA-93-576-3-8BD)
      Jasper Buchanan, appellant pro se.
      James Elliott McDonald, William Brockman Watkins, Burns, McDonald, Bradford, Patrick &amp; Dean, Greenwood, SC;  William Henry Davidson, II, Andrew Frederick Lindemann, Ellis, Lawhorne, Davidson, Sims, Morrison &amp; Sojourner, P.A., Columbia, SC, for appellees.
      D.S.C.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Buchanan v. Lindler, No. CA-93-576-3-8BD (D.S.C. Mar. 23, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    